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                                 No. 6:07-cr-00092-1

                             United States of America
                                        v.
                              Terry Glenn Dotrey,


                                      ORDER

                   This criminal action was referred to United States
               Magistrate Judge K. Nicole Mitchell pursuant to 28
               U.S.C. § 636(b)(3). Judge Mitchell held a final revoca-
               tion hearing on September 29, 2020, and issued a report
               and recommendation that the defendant’s term of su-
               pervised release should be revoked. Doc. 89. Defend-
               ant waived his right to object to the report, agreed to
               the revocation of his supervised release, agreed to the
               sentence below, and waived his right to be present for
               sentencing. Doc. 88.
                  Having reviewed the magistrate judge’s report,
               and being satisfied that it contains no clear error, the
               court accepts its findings and recommendation. The
               court orders that defendant Terry Glenn Dotrey be sen-
               tenced to a period of 12 months and 1 day of imprison-
               ment with no supervised release to follow. The court
               recommends that defendant serve his sentence at FCI
               Texarkana, if available.
                                So ordered by the court on October 15, 2020.



                                              J. C AMPBELL B ARKER
                                            United States District Judge
